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13                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF CALIFORNIA
14                               SAN JOSE DIVISION
15 IN RE: FACEBOOK, INC. INTERNET        No. 5:12-md-02314-EJD
   TRACKING LITIGATION
16                                       CORRECTED FIRST AMENDED
                                         CONSOLIDATED CLASS ACTION
17                                       COMPLAINT
18                                       DEMAND FOR JURY TRIAL
19

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                                          1         CORRECTED FIRST AMENDED
                                                   CONSOLIDATED CLASS ACTION
                                                 COMPLAINT - No. 5:12-md-02314-EJD
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 1                                    NATURE OF THE ACTION
 2          1.     This class action lawsuit, seeking in excess of $15 billion in damages and

 3 injunctive relief brought by, and on behalf of, similarly situated individuals domiciled in the

 4 United States who had active Facebook, Inc. (“Facebook” or the “Defendant”) accounts from May

 5 27, 2010 through September 26, 2011 (the “Class Period”), arises from Facebook’s knowing

 6 interception of users’ internet communications and activity after logging out of their Facebook

 7 accounts in violation of state and federal laws.

 8                                   JURISDICTION AND VENUE
 9          2.     This Court has personal jurisdiction over Defendant Facebook because Facebook is

10 headquartered in this District.

11          3.     This Court has subject matter jurisdiction over this action and Defendant Facebook

12 pursuant to 28 U.S.C. § 1331 because this action arises in part under federal statutes, namely the

13 Federal Wiretap Act, 18 U.S.C. § 2511 (the “Wiretap Act”), the Stored Communications Act, 18

14 U.S.C. § 2701 (“SCA”) and the Computer Fraud and Abuse Act, 18 U.S.C. § 1030 (the “CFAA”)

15 and pursuant to 28 U.S.C. § 1332(d) because the amount in controversy exceeds $5,000,000.

16          4.     Venue is proper in this District because Defendant Facebook is headquartered in

17 this District. In addition, The Facebook Statements of Rights and Responsibilities in force during

18 the Class Period, which governs the relationship between Facebook and its users, provides for

19 exclusive venue in state or federal courts located in Santa Clara County, California.

20                                           THE PARTIES
21          5.     Plaintiff Mrs. Perrin Davis (“Davis”) is an adult domiciled in Illinois. Davis had an

22 active Facebook account during the entire Class Period, which Facebook utilized to track and

23 intercept her specific electronic activity and communications.

24          6.     Plaintiff Prof. Cynthia Quinn (“Quinn”) is an adult domiciled in Hawaii. Quinn

25 had an active Facebook account during the entire Class Period, which Facebook utilized to track

26 and intercept her specific electronic activity and communications.

27          7.     Plaintiff Dr. Brian Lentz (“Lentz”) is an adult domiciled in Virginia. Lentz had an

28 active Facebook account during the entire Class Period, which Facebook utilized to track and
                                                  2            CORRECTED FIRST AMENDED
                                                             CONSOLIDATED CLASS ACTION
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 1 intercept his specific electronic activity and communications.

 2          8.     Plaintiff Mr. Matthew Vickery (“Vickery”) is an adult domiciled in Washington

 3 State. Vickery had an active Facebook account during the entire Class Period, which Facebook

 4 utilized to track and intercept his specific electronic activity and communications.

 5          9.     Defendant Facebook is a Delaware corporation which maintains its headquarters at

 6 156 University Avenue, Palo Alto, California 94301. Facebook is a “social network” that permits

 7 its members to interact with one another through a web site located at www.facebook.com. By the

 8 end of the Class Period, Facebook had approximately 800 million members, of whom 150 million

 9 were in the United States.

10                                     FACTUAL ALLEGATIONS
11 I.       FACTUAL BACKGROUND
12                 Zuckerberg: Yeah so if you ever need info about anyone at Harvard
13                 Zuckerberg: Just ask.
14                 Zuckerberg: I have over 4,000 emails, pictures, addresses, SNS
15                 [Redacted Friend’s Name]: What? How’d you manage that one?
16                 Zuckerberg: People just submitted it.
17                 Zuckerberg: I don’t know why.
18                 Zuckerberg: They “trust me”
19                 Zuckerberg: Dumb fucks.
20                         -    Facebook Founder Mark Zuckerberg’s Instant Messages,
                                circa 2004, as made public by New York Magazine
21                              on September 20, 2010

22          10.    Facebook is the brainchild of the Company’s founder and Chief Executive Officer,

23 Mark Zuckerberg, who wrote the first version of “The Facebook” in his Harvard University dorm

24 room and launched the Company in 2004. The key to Facebook’s success was to convince people

25 to create unique, individualized profiles with such personal information as employment history

26 and political and religious affiliations, which then could be shared among their own network of

27 family and friends.

28 / / /
                                                       3          CORRECTED FIRST AMENDED
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 1          11.    Facebook has become the largest social networking site in the world with over 800

 2 million users world-wide and over 150 million users in the United States.

 3          12.    Facebook’s enormous financial success is the result of connecting advertisers with

 4 its huge repository of personal data provided by users. As Facebook explained in its recent

 5 Registration Statement, “Advertisers can engage with more than 900 million monthly active users

 6 (MAUs) on Facebook or subsets of our users based on information they have chosen to share with

 7 us such as their age, location, gender, or interests. We offer advertisers a unique combination of

 8 reach, relevance, social context, and engagement to enhance the value of their ads.”            See

 9 Amendment No. 5 to Form S-1 Registration Statement, filed by Facebook, Inc. with the United

10 States Securities and Exchange Commission on May 3, 2012 (the “Registration Statement”) at 1.

11          13.    Indeed, in the past three years, over 90% of Facebook’s revenue was attributable to

12 third party advertising (see Registration Statement at 13), and Facebook is driven to continue to

13 find new and creative ways to leverage its access to users’ data in order to sustain its phenomenal

14 growth (see, e.g., Registration Statement at 88-91, 99-100).

15          14.    Although Facebook does not require its members to pay a monetary subscription

16 fee, membership is not free. Instead, Facebook conditions its membership upon users providing

17 sensitive and valuable personal information to Facebook upon registration, including name, birth

18 date, gender and email address. More importantly, Facebook conditions membership upon the

19 user accepting numerous Facebook small text files, called cookies, on the user’s computer, which

20 allows Facebook to intercept its users’ electronic communications and track browsing history.

21          15.    According to a recent report by Rainey Reitman at the Electronic Frontier

22 Foundation (“EFF”), titled “Facebook’s Hotel California” (Oct. 10, 2011), Facebook installs two

23 types of cookies on members’ computers:

24          Session cookies are set when you log into Facebook and they include data like
            your unique Facebook user ID. They are directly associated with your Facebook
25          account. When you log out of Facebook, the session cookies are supposed to be
            deleted.
26
            Tracking cookies - also known as persistent cookies - don’t expire when you leave
27          your Facebook account. Facebook sets one tracking cookie known as ‘datr’ when
            you visit Facebook.com, regardless of whether or not you actually have an account.
28          This cookie sends data back to Facebook every time you make a request of
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 1          Facebook.com, such as when you load a page with an embedded Facebook ‘like’
            button. This tracking takes place regardless of whether you ever interact with a
 2          Facebook ‘like’ button. In effect, Facebook is getting details of where you go on the
            Internet.
 3

 4          When you leave Facebook without logging out and then browse the web, you have
            both tracking cookies and session cookies. Under those circumstances, Facebook
 5          knows whenever you load a page with embedded content from Facebook (like a
            Facebook ‘like’ button) and also can easily connect that data back to your
 6          individual Facebook profile.

 7          As the EFF noted, Facebook promised to delete session cookies upon logout. This is not

 8 just vague industry expectation: it is the limit of the user’s consent under the governing

 9 contracts, and therefore under federal law.

10          16.    Use of Facebook is governed by the Statement of Rights and Responsibilities and

11 several other documents and policies, including a Data Use Policy and a Privacy Policy (hereafter

12 referred to collectively as “governing documents”). Although the governing documents reflect

13 that users consent to Facebook installing cookies on each user’s computer, and although users

14 consent to these cookies tracking and transmitting data to Facebook regarding each user’s web

15 browsing, such consent was limited to internet usage while users are logged on to Facebook.

16 Users do not consent to Facebook tracking their web browsing activity after logging out of

17 Facebook. In fact, Facebook represented it would delete the session cookies at the time of logout.

18 On Facebook’s online help center, Facebook clearly and unambiguously emphasized, “When you

19 log out of Facebook, we remove the cookies that identify your particular account.”

20          17.    Even though Facebook assures its users that it does not track their internet

21 browsing post log out, Facebook has been doing exactly that.

22          18.    On September 25, 2011, Australian blogger Nik Cubrilovic reported that: “Even if

23 you are logged out, Facebook still knows and can track every page you visit.” He explained that

24 “[t]his is not what ‘logout’ is supposed to mean – Facebook is only altering the state of the cookies

25 instead of removing all of them when a user logs out.”

26          19.    In response, on September 26, 2011, Facebook engineer Gregg Stefancik thanked

27 Cubrilovic “for raising these important issues” and acknowledged that a particular cookie, the

28 a_user cookie, was not cleared on logout, advising that “We will be fixing that today.” Facebook
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 1 further admitted that the Company had not “done as good a job as we could have to explain our

 2 cookie practices. Your post presents a great opportunity for us to fix that.”

 3          20.    While its response was seemingly forthcoming, Facebook failed to tell users that it

 4 had known for nearly a year that its systems were surreptitiously capturing users’ internet

 5 browsing habits after logout – and moreover, it had been developing better post-logout tracking

 6 devices that were designed exactly for that purpose.

 7          21.    In fact, Cubrilovic first discovered that Facebook cookies were tracking user’s

 8 internet usage even after logging out of Facebook without the knowledge or consent of the user in

 9 2010. Cubrilovic’s investigation revealed that several cookies that revealed personally identifiable

10 information remained post logout, and some even remained after the browser was closed and

11 restarted. In short, Cubrilovic established that Facebook was in fact secretly tracking its users’

12 web browsing without their knowledge or consent even after logout.

13          22.    Cubrilovic repeatedly contacted Facebook to report his findings and ask them to fix

14 the problem. For example, Cubrilovic emailed Facebook on November 14, 2010, and then again

15 on January 12, 2011. Facebook refused to respond.

16          23.    Following the findings of Nik Cubrilovic, Facebook admitted that it has been

17 tracking, collecting, storing and using its users’ wire and/or electronic communications while

18 users have been logged-out of Facebook.

19          24.    On September 28, 2011, U.S. Representative Edward Markey and U.S.

20 Representative Joe Barton, Co-Chairmen of the Congressional Bi-Partisan Privacy Caucus,

21 submitted a joint letter to the Chairman of the Federal Trade Commission stating, “[I]n this

22 instance, Facebook has admitted to collecting information about its users even after its users had

23 logged out of Facebook.”

24          25.    Neither Facebook users nor the third-party websites have given consent or

25 otherwise authorized Facebook to intercept, acquire, store and track users’ electronic

26 communications while not logged-in to Facebook.

27 / / /

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 1          26.     Facebook has made inconsistent public statements regarding the reason for its post

 2 log-out tracking, despite its admission that such tracking occurred. For instance:

 3                  1.     Facebook first claimed that the post log out tracking of its users’ personally
                           identifiable information was “inadvertent” and was a “bug.” On October 4,
 4                         2011 Facebook Spokesperson Greg Stefancik commented on an online post
                           stating, “as we discussed last week, we are examining our cookie setting
 5
                           behavior to make sure we do not inadvertently receive data that could be
 6                         associated with a specific person not logged into Facebook.” Further, in
                           response to Nik Cubrilovic’s blog post, Facebook responded by saying,
 7                         “What you see in your browser is largely typical, except a_user which is
                           less common and should be cleared upon logout (it is set on some photo
 8                         upload pages). There is a bug where a_user was not cleared on log out. We
                           will be fixing that today.”
 9

10                  2.     Facebook then publicly stated that it uses post log-out tracking of specific
                           personally identifiable information for safety purposes only. In a USA
11                         Today article, Facebook engineering director Arturo Bejar claimed that
                           Facebook uses such data only to boost security and improve how ‘Like’
12                         buttons and similar Facebook plug-ins perform.1
13

14          27.     The German Hamburg Commissioner for Data Protection and Freedom of

15 Information conducted a full investigation into Facebook’s tracking of users post log-out.

16 Facebook told the Hamburg Commissioner that it “needs” users to be identifiable after log-out for

17 security purposes, but the Hamburg Commissioner was unconvinced.                       The Hamburg

18 Commissioner issued a press release regarding their investigation, which stated:

19
                    Facebook’s argument that all users need to be identifiable even once
20                  they have logged out of Facebook in order to guarantee the security
                    of the service is untenable within this context. The fact that the
21                  installation of cookies in reality only permits the collection of the
                    user’s personal data required to use the service seems extremely
22                  questionable. The results of the investigation raised the suspicion
23                  that     Facebook     is    creating    user    tracking     profiles.

24          28.     Additionally, a patent application assigned to Facebook, which the U.S. Patent &

25 Trademark Office recently published, indicates that Facebook is not only aware that its cookies

26 persist after logout, but that it deliberately designed them to function in that manner.

27   1
    See Byron Acohido, "How Facebook tracks you across the Web," USA Today, November 16,
28 2011.
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 1          29.    Specifically, on February 8, 2011, three individuals, Kent Matthew Schoen,

 2 Gregory Luc Dingle and Timothy Kendall, filed a patent application entitled, “Communicating

 3 Information in a Social Network System about Activities from Another Domain.”2 As the first

 4 claim in the Patent Application explains, the applicants were seeking to patent:

 5
                   1. A method for tracking information about the activities of users
 6                    of a social networking system while on another domain, the
                      method comprising: maintaining a profile for each of one or
 7                    more users of the social networking system…; receiving one or
 8                    more communications from a third-party website having a
                      different domain than the social network system, each message
 9                    communicating an action taken by a user of the social
                      networking system on the third-party website; logging the
10                    actions taken on the third-party website in the social networking
                      system…; and correlating the logged actions with one or more
11                    advertisements presented to one or more users.
12

13 Patent Application at 2.

14          30.    The detailed description of this tracking method reveals that it enables Facebook to

15 capture and log actions taken by Facebook users on websites other than Facebook, even when the

16 user is not logged in:

17
                   [0054] As described above, in particular embodiments, the social
18                 network system 100 also logs actions that a user takes on a third
                   party website 140. The social network system 100 may learn of the
19                 user’s actions on the third party website via any of a number of
                   methods. In particular embodiment, in response to certain actions
20                 such as, a user registering with a third-party website 140, purchasing
21                 a product from a third-party website 140, downloading a service
                   from a third-party website 140, or otherwise making a conversion,
22                 the third-party website 140 transmits a conversion page, such as a
                   confirmation or “thank you” page to the user at the user’s client
23                 device. In particular embodiment, this page includes an embedded
                   call or code segment (e.g., JavaScript) in the HTML or other
24                 structured document code (e.g., in an HREF(Hypertext REFerence)
25                 that, in particular embodiments, generates a tracking pixel that,
                   when executed by the client’s browser or other rendering
26                 application, generates a tracking pixel or image tag that is then

27   2
    See U.S. Patent Application No. 20110231240, filed February 8, 2011 and published September
28 22, 2011 (the “Patent Application”) at 1.
                                                  8              CORRECTED FIRST AMENDED
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 1                 transmitted to the social network system (whether the user is logged
                   into the social network system or not). The tracking pixel or image
 2                 tag then communicates various information to the social network
                   system about the user’s action on the third-party website. By way of
 3
                   example, the tracking pixel or call may transmit parameters such as
 4                 the user’s ID (user ID as registered with the social network system),
                   a product ID, information about the third-website, timestamp
 5                 information about the timing of the purchase or other action, etc. In
                   one example, if the third party website 140 is a commercial website
 6                 on which users may purchase items, the third party website 140 may
                   inform the social network system 100 in this manner when a user of
 7
                   the social network system 100 buys an item on the third party
 8                 website140.

 9 Patent Application at 5.

10

11         31.     Further, in certain circumstances, Facebook has to actively bypass data protection

12 software to do this: Facebook deposits a cookie that deliberately and without a user’s consent

13 bypasses security settings on the user’s browser for the purpose of gathering intelligence as to

14 what the user does on the internet in real time, such as what sites are visited, whether purchases

15 are made, or whether information is downloaded or a link forwarded to a friend. This information

16 is then instantly relayed back to Facebook, substantially enhancing the value of Facebook’s vast

17 repository of personal data to third parties, namely advertisers. This is all done whether the

18 Facebook user is logged onto the social networking site or logged off.

19         32.     Technically, this is how the Patent Application describes the bypass:

20
                   [0099] In one embodiment, the third party website 140 and/or the
21                 social network system 100 determine whether the user is a user of
                   the social network system 100. For example, the third party website
22                 140 may access a cookie on the user’s computer, where the cookie is
                   associated with the social network system 100. Since the social
23                 network system 100 and the third party website 140 are on different
24                 domains, the user’s browser program may include security features
                   that normally prevent a website from one domain from accessing
25                 content on other domains. To avoid this, the third party website 140
                   may use nested iframes, where the third party website 140 serves a
26                 web page that includes a nested iframe in the social network
                   website’s domain, thereby allowing the nested iframe to access the
27
                   user information and send the information back to the third party
28                 website 140. Repeated nesting of iframes further allows the social
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 1                 networking site 100 to communicate information back to the third
                   party website 140. By using this technique, the third party website
 2                 140 and the social network system 100 can communicate about the
                   user without sharing any of the user’s personal information and
 3
                   without requiring the user to log into the social network system 100.
 4

 5 Patent Application 10-11.

 6          33.    Although Facebook’s name does not appear in the Patent Application, it is listed in

 7 the U.S. Patent & Trademark Office database as assigned to Facebook. Tellingly, one of the three

 8 individual applicants, Timothy Kendall, is not an inventor or a computer scientist at all. Rather,

 9 Mr. Kendall is the Director of Monetization at Facebook. According to his LinkedIn profile, Mr.

10 Kendall’s job at Facebook is “Product Strategy & Development for Facebook’s revenue

11 generating products.” Essentially, he figures out new and better ways to sell user information to

12 advertisers.

13          34.    In a November 10, 2011 letter, U.S. Representatives Markey and Barton stated,

14 “This patent application raises a number of questions about whether Facebook tracks its

15 subscribers on websites other than Facebook, regardless of login status, or has plans to do

16 so…Experts who have reviewed Publication #20110231240 agree that the patent contemplates

17 tracking users on other websites. The patent also includes sending targeted advertisements to users

18 based on information gleaned from such tracking.”

19          35.    On December 21, 2011, Facebook responded to U.S. Representatives Markey and

20 Barton’s letter with their own 6-page letter. This letter talked extensively about how their current

21 business operation did not track users while the user was logged-off, but did not discuss their

22 previous tracking systems.

23          36.    In a press release by U.S. Representative Markey’s office dated January 9, 2012,

24 the Congressman stated, “Lawmakers are unsatisfied with responses of social networking site to

25 queries about recent patent application that suggests tracking of users on other websites, using

26 information to target advertisements…the main questions of whether Facebook has considered

27 using third-party tracking data to build user profiles or employs user-provided data to target

28 advertising remain unanswered from the company’s response to our letter.”
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 1          37.    The press release also states, “Additionally in its response to us, Facebook states

 2 that it uses consumer-provided data for ‘internal operations, including data analysis, research,

 3 development, and service improvement’ yet provides no description of what these activities entail

 4 or how they affect consumer privacy… Facebook seems to be saying one thing and doing

 5 another…In the company’s response, it talks a lot about how they don’t currently ‘track’ users

 6 online, but they just asked for a patent that would allow them to do just that. Why ask for

 7 something you don’t ever plan on using?”

 8 II.      HOW FACEBOOK TRACKS ITS MEMBERS’ INTERNET USE
 9          A.     How Cookies Are Installed On Users’ Computers
10          38.    On the Web, servers store information on users’ computers via cookies. A cookie
11 is a small text file that the server creates and sends to the browser, which stores it in a particular

12 directory on the user’s computer. Some cookies relate to the browser and others relate to specific

13 users.

14          39.    When a user contacts a web server, such as Facebook, the browser software checks
15 to see if that server has set any cookies on that client machine. If there are valid (unexpired)

16 cookies that were set by that server, then the client sends the cookies to the server.

17 Thus, cookies allow servers to store information on a browser.

18          40.    Because cookies are small text files, there is a limited amount of information that
19 can be stored in them. Typically, servers create database records on the server that correspond to

20 users, sessions, and browsers. These records are indexed by numbers, typically random, and the

21 numbers are the actual values stored in the cookies.

22          41.    Every time that a server, such as Facebook, receives a cookie, the server knows that

23 it is interacting with a client with whom it has interacted before. The server examines the cookie to

24 identify the value of a database index and uses the index value from the cookie to locate the

25 database record that corresponds to that user, session or browser, depending on the type of cookie

26 that is received. For example, a c_user cookie contains an index into a database of information

27 about a particular user who is logged into Facebook.

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 1          42.     When an in
                             nternet user signs
                                          s     up forr Facebook aat Facebook.com, the Faacebook.com
                                                                                                   m

 2 weeb server imp
                 plants a num
                            mber of cook
                                       kies onto the internet useer’s computeer. The proceess by which
                                                                                                     h

 3 thaat occurs is as
                   a follows:

 4          43.     The user typ
                               pes the URL
                                         L facebook.coom in the adddress bar off his browserr.

 5          44.     The browser initiates a GET requesst to the Faceebook serverr to display tthe webpagee.

 6 Faccebook creattes a log filee of the requeest, which iss indexed byy a number, ee.g. 12345:

 7

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14

15          45.     Facebook responds
                             r        by sending thee content of the webpaage (an HT
                                                                                   TTP responsee

16 con
     ntaining an HTML
                 H    page)), which is th
                                        hen displayeed on the useer’s browserr screen.

17          46.     Facebook’s response in
                                         ncludes a “ Set-cookie” header thatt causes thee browser to
                                                                                                   o

18 sto
     ore a datr coo
                  okie on the user’s
                              u      machin
                                          ne with the vvalue 123455.

19          47.     The Facebook.com hom
                                       mepage is dissplayed withh the possibility to log onn or to createe

20 an account.

21          48.     Thus, at thee end of the response
                                             r        froom Facebookk, the browsser has a datr cookie filee,

22 and
     d the Facebo
                ook databasee has an entry
                                         y that corressponds to thaat cookie.

23 / / /

24 / / /

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 8          49.     The user creeates an acccount by enteering some private inforrmation andd clicking thee

 9 ‘Siignup’ button
                  n.

10          50.     Clicking th           mplies that the user aagrees to thhe Terms off Service of
                              his button im

11 Faccebook.

12          51.     The click initiates
                              i         an HTTP requuest from thhe user’s brrowser to thhe Facebook
                                                                                                  k

13 serrver. The brrowser check
                             ks the cook
                                       kie directoryy on the clieent machinee to see if thhere are any
                                                                                                     y

14 coo
     okies for thee Facebook.ccom domain
                                       n and finds tthe datr cookkie that wass recently seet there. Thee

15 coo
     okie with value 12345 iss sent to Facebook, alongg with the G
                                                                 GET request, to store the data in a log
                                                                                                       g

16 filee and show the
                  t next pagee.

17

18

19

20

21

22

23

24          52.     When Faceb
                             book receivees this requeest, it uses thhe index 123345 to link thhe request to
                                                                                                           o
25 thee previous reequest sent by
                               b the brow
                                        wser, and in tthis mannerr, Facebook can track alll subsequen
                                                                                                    nt
26 req
     quests from the browserr whenever it
                                       i receives thhe datr cookkie with valuue 12345. IIf a differen
                                                                                                    nt
27 bro
     owser on a different
                d         macchine used by
                                        b a differennt user interracts with Faacebook, thee datr cookiee
28 vallue sent will be differentt. As more people
                                           p      connnect to Facebbook, the sizze of the dataabase growss,
                                                      113             CORREC    CTED FIRST   T AMENDE   ED
                                                                    CONSOLID    DATED CLA    ASS ACTIO  ON
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 1 to keep
      k    track of all of the different
                               d         brow
                                            wsers.

 2           53.    The Facebo
                             ook server then
                                        t    respondds by displaaying a new
                                                                          w webpage: the personaal

 3 pro
     ofile page off the new meember.

 4           54.     After the user
                               u has enteered their ussername andd password aand logged iin, the server

 5 creeates a new database
                  d        entry. This new
                                         w database eentry correspponds to thee actual user who logs in
                                                                                                      n.

 6 Faccebook usess a differentt large, rand
                                          dom numbeer to index iinto this daatabase entryy, e.g., 7890
                                                                                                     0

 7 (Sm
     mall numberrs are used here
                            h for illusttration purpooses. An actual index on Facebook is around 15
                                                                                                  5

 8 dig
     gits). The value 7890 iss then sent in
                                         i a new Sett-Cookie heaader in the rresponse to the browserr.

 9 The browser sttores this in a c_user coo
                                          okie on the cclient machinne in the coookie directoryy.

10           55.    The datr coo
                               okie persistss in the brow
                                                        wser as well.

11           56.    At the end of this inteeraction, thee browser has the c_user cookie stored on thee

12 useer’s machinee, and the Faacebook serrver has an eentry for thaat user, indeexed by the vvalue of thaat

13 coo
     okie.

14

15

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19

20

21           B.     Facebook’ss Tracking Of
                                         O Logged-IIn Memberrs
22           57.    When a user visits another site oon the internnet that hass any type oof Facebook
                                                                                                    k
23 con
     ntent integrated into th
                            he website, the Faceboook.com seerver is nottified of thaat electronicc
24 com
     mmunication
               n. That proceess occurs ass follows:
25           58.    The user visits
                             v      anoth
                                        her websitee by typingg in a new
                                                                       w URL (fo
                                                                              for examplee,
26 ww
    ww.cnn.com)) in the brow
                           wser address bar (CNN hhas Facebookk content inttegrated intoo the site).
27 / / /

28 / / /
                                                        114          CORRECCTED FIRST  T AMENDE  ED
                                                                    CONSOLID
                                                                           DATED CLA   ASS ACTIOON
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 1          59.    The browseer sends a GET
                                        G   requestt to the CNN
                                                              N server to display the webpage. If

 2 CN
    NN had prev
              viously set an
                           ny cookies on
                                      o the browsser, and theyy were not eexpired, thenn the browser

 3 wo
    ould send tho
                ose as well.

 4

 5

 6

 7

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11

12

13          60.    When the CNN
                            C   server receives
                                       r        thiss request, it rresponds witth the HTML
                                                                                         L file for thee

14 cnn
     n.com homee page. This HTML filee contains innformation ffrom third pparties, who partner with
                                                                                                  h

15 CN
    NN to display
                y content on
                           n the CNN home page. F
                                                For examplee, if a user seees a story thhat they likee,

16 theey can click on the Faceb
                              book “Like”” button, whhich is Facebbook contentt embedded on the CNN
                                                                                                  N

17 weebsite, and th
                  he story willl show up in
                                          n their Facebbook news fe
                                                                 feed. To achhieve this, C
                                                                                         CNN includes

18 som
     me special HTML
                H    code in
                          i the HTML
                                   L for the weeb site.

19          61.    Part of the contents off the response concern Facebook L
                                                                          Like buttons. The CNN
                                                                                              N

20 serrver does not send these button imag
                                         ges, but insttead sends a piece of coode to the brrowser of thee

21 useer:

22

23

24

25

26

27

28
                                                      115          CORRECCTED FIRST  T AMENDE  ED
                                                                  CONSOLID
                                                                         DATED CLA   ASS ACTIOON
                                                                COMPLAINT - No. 5:12-m
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 1           62.                          d by the codde, sends a request to the Facebook server to
                    The browseer, triggered                                                       o

 2 dissplay the Like button. The HTML
                                 H    codee on the CNN site looks likke this: <aa

 3 claass=“cnnShareFacebook””href=“http://www.facebbook.com/shhare.php?u=
                                                                        =http%3A%22F%2Fwww.

 4 cnn
     n.com%2F20
              012%2F05%
                      %2F15%2Fu
                              us%2Fsome- story-fbi%22Findex.htmll”>Facebookk</a>.

 5           63.    This is a tag
                                g that causees an automaatic request to Facebookk from the bbrowser. Thee

 6 req
     quest includees the specifi
                              fic details of web page (oor story) thatt the user hass requested.

 7           64.    So, as a ressult of the user
                                            u    who is logged intoo Facebook requesting a story from
                                                                                                    m

 8 CN
    NN, the user’s cookies, as
                            a well as th
                                       he identity oof the Web ppage that thee user visiteed are sent to
                                                                                                       o

 9 Faccebook.

10           65.    The requestt includes thee information contained in the datr ccookie.

11           66.    The requestt includes thee information contained in the c_useer cookie.

12           67.    When Faceb
                             book receivees this inform
                                                      mation, it usses the 123455 and the 7890 indices to
                                                                                                        o

13 upd
     date its datab
                  base recordss for the brow
                                           wser and thee user, respectively, to addd the inform
                                                                                              mation abou
                                                                                                        ut

14 wh
    hich site the user
                  u visited, in this case,, CNN.

15           68.    Further, Faccebook actuaally receivess this inform
                                                                     mation beforee the content of the user’s

16 req
     quest shows up
                 u on the usser’s screen. It is simultaaneous with the request.

17           69.    In a similarr fashion, Faacebook cann keep track of all of thee partner sittes that users

18 vissit.

19

20

21

22

23

24

25                                                                                                       /
26

27 / / /

28 / / /
                                                         116          CORRECCTED FIRST  T AMENDE  ED
                                                                     CONSOLID
                                                                            DATED CLA   ASS ACTIOON
                                                                   COMPLAINT - No. 5:12-m
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 1          70.    The Facebo
                            ook server responds
                                       r        byy sending thhe content w
                                                                         which displaays the Likee

 2 buttton on the browser
                  b       screeen of the useer (in the CN
                                                        NN website)::

 3

 4

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 9

10

11          C.     Facebook’ss Tracking Of
                                        O Logged-O
                                                 Out Users
12          71.    When a useer logs out of
                                         o Facebook,, the Faceboook.com servver is still notified every
                                                                                                      y
13 tim
     me that user visits
                  v      a website that has Facebook ccontent integgrated into thhe website. That process
14 occcurs as follow
                   ws:
15          72.    The user viisits anotherr website byy typing in a new URL
                                                                           L (www.cnnn.com) in thee
16 bro
     owser addresss bar.
17          73.    The browser sends a req
                                         quest to the C
                                                      CNN server to display thhe webpage::
18

19

20

21

22

23

24

25          74.    The CNN server respo
                                      onds by sennding the contents of tthe webpagge which aree

26 dissplayed on th
                  he browser screen of the user.

27 / / /

28 / / /
                                                       117         CORRECCTED FIRST  T AMENDE  ED
                                                                  CONSOLID
                                                                         DATED CLA   ASS ACTIOON
                                                                COMPLAINT - No. 5:12-m
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 1          75.     Part of the contents off the CNN w
                                                     web page cooncern Faceebook Like bbuttons. Thee

 2 CN
    NN server do
               oes not send
                          d these butto
                                      on images, bbut sends a piece of codde to the brrowser of thee

 3 useer:

 4          76.

 5

 6

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11
            77.     The browseer, triggered
                                          d by the codde, sends a request to the Facebook server to
                                                                                                  o
12 dissplay the Lik
                  ke button.
13          78.     The request includes information
                                         i           contained in cookies that containn personally
                                                                                                 y
14 ideentifiable infformation. By accessin
                                         ng this cookkie informattion stored on the user’s computerr,
15 Faccebook has exceeded au
                           uthorized acccess to the user’s compputer and inntercepted aan electronicc
16 com
     mmunication
               n because that cookie infformation w
                                                  was supposedd to have beeen deleted uppon log out.
17          79.     Facebook creates
                             c       a log
                                         g entry of tthe request including thhe informatiion from thee
18 coo
     okies that co
                 ontain person
                             nally identifiiable inform
                                                      mation.
19          80.     Facebook acctually receiives this infoormation beffore the conttent of the uuser’s requesst
20 sho
     ows up on th
                he user’s screeen. It is sim
                                           multaneous w
                                                      with the requuest.
21          81.     The Facebo
                             ook server responds
                                        r        byy sending thhe content w
                                                                          which displaays the Likee
22 buttton on the browser
                  b       screeen of the useer.
23 / / /

24 / / /

25 / / /

26 / / /

27 / / /

28 / / /
                                                         118          CORRECCTED FIRST  T AMENDE  ED
                                                                     CONSOLID
                                                                            DATED CLA   ASS ACTIOON
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 1

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 5

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 7          82.     Facebook’s receipt of a copy of thhe user’s reqquest to the CNN serverr, along with
                                                                                                      h
 8 thee cookie info
                  ormation, iss an intercep
                                          ption of the contents off an electronnic communnication. By
                                                                                                    y
 9 obttaining a du
                 uplicate copy
                             y of the useer’s communnication withh the websitte, Facebookk obtains, in
                                                                                                     n
10 reaal time, the content
                   c       of th
                               he datr track
                                           king cookie and other ppersistent cookies, the ddetails of thaat
11 com
     mmunication
               n (which disscloses whatt content exxactly the usser requestedd and constiitutes a URL
                                                                                                    L
12 req
     quest), along
                 g with the daate, time and
                                          d web addresss of the webpages clickked on, the iidentification
                                                                                                        n
13 of the content accessed on
                            n each page, and the chaaracteristics of the user’’s PC, mobiile computerr,
14 celll phone and
                 d browser, su
                             uch as the IP
                                        I address, uuniversal deevice identifi
                                                                            fier (“UDID””) on mobilee
15 dev
     vices , screeen resolution
                              n, operating system andd browser veersion. All of this occuurs while thee
16 useer is logged off
                   o of Facebook, contrarry to Facebo ok’s governning policies..
17          83.     Moreover, Facebook
                              F        eaasily trackedd logged outt users withh its datr traccking cookiee
18 alo
     one, without the need forr an addition
                                          nal Faceboook cookie coontaining a F
                                                                             Facebook user ID. From
                                                                                                  m
19 thee first time a Facebook
                            k user logs into Faceboook and the datr tracking cookie iis set on his
20 maachine, all of
                 o that user’s browsing to Facebookk partner siites using thhat browser is linked by
                                                                                                   y
21 Faccebook back                        he datr trackking cookie contains a uunique numbber, which is
                k to that useer because th
22 also unique to
                o that particu
                             ular user’s browser
                                         b       andd his speciffic computerr or mobile device, thaat
23 ind
     dexes into th
                 he Facebook
                           k database which
                                      w     tracks users and bbrowser sesssions both oon computers
24 and
     d mobile dev
                vices such ass Android ceell phones, iP
                                                      Phones, iPadds and the iP
                                                                              Pod Touch.
25          84.     Every time a user visitss such a parttner site, the datr trackinng cookie wiith its uniquee
26 num
     mber is sentt to Faceboo
                            ok along witth a duplicaate of the sam
                                                                 me informattion as desccribed abovee.
27 Thu
     us, in violattion of the federal
                              fe      and California
                                          C          staate laws enuumerated beelow, Faceboook used this
28 infformation to track users after
                               a     they log
                                            gged out of FFacebook.
                                                       119            CORRECCTED FIRST  T AMENDE  ED
                                                                     CONSOLID
                                                                            DATED CLA   ASS ACTIOON
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 1 III.     FACEBOOK’S HISTORY AND PATTERN OF DISREGARD FOR THE PRIVACY
            RIGHTS OF ITS MEMBERS
 2

 3          85.    Facebook has had a long history of disregard for the privacy rights of its members,

 4 including, but not limited to, the following:

 5                 1.      May 2004: Zuckerberg hacked the personal email accounts of editors of the
                           Harvard newspaper, utilizing private login information entered by users on
 6                         Facebook’s site;
 7
                   2.      Summer 2004: Zuckerberg hacked into a rival company’s (ConnectU)
 8                         networking site, purportedly for the purpose of disrupting the functionality
                           of the program;
 9
                   3.      September 8, 2006: Zuckerberg acknwledges in a blog entry that “We really
10                         messed this one up. When we launched News Feed and Mini-Feed we were
                           trying to provide you with a stream of information about your social world.
11
                           Instead we did a bad job of explaining what the new features were and an
12                         even worse job of giving you control of them. I’d like to correct those errors
                           now;”
13
                   4.      August 2007: Configuration problem on Facebook’s server allowed code to
14                         be displayed which put in doubt the privacy of Facebook users’ personal
15                         information. Facebook responded, “A small fraction of the code that
                           displays Facebook web pages was exposed to a small number of users due
16                         to a single misconfigured web server that was fixed immediately;”

17                 5.      November 2007: Blog post by Security Engineer at CA, Inc. claimed that
                           Facebook Beacon was collecting data from affiliate sites even when users
18                         opted out and even when not logged into the site. There were concerns over
19                         Facebook utilizing this data and Facebook responded, “Facebook does not
                           associate the information with any individual user account, and deletes the
20                         data as well;”

21                 6.      February 2008: Concerns arose that even when users close an account,
                           Facebook could retain the information indefinitely. Facebook did not fix
22                         this problem until 2010;
23
                   7.      May 2008: 35 page complaint by Canadian Internet Policy and Public
24                         Interest Clinic (CIPPIC) citing 22 breaches of Canadian law;

25                 8.      September 2009: Settlement of lawsuit over Beacon (shutting down the
                           program);
26

27                 9.      December 2009: EPIC files lawsuit against Facebook regarding terms of
                           service;
28
                                                      20           CORRECTED FIRST AMENDED
                                                                  CONSOLIDATED CLASS ACTION
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 1                 10.    December 2009: FTC complaint against Facebook regarding the change to
                          its privacy policies;
 2
                   11.    May 2010: “Quit Facebook Day” was a day set up where users would quit
 3
                          Facebook due to privacy concerns. 33,000 users quit that day;
 4
                   12.    December 2010: As of this date, 1,136 complaints had been filed with the
 5                        Better Business Bureau;
 6                 13.    August 2011: As of this date, 16 complaints had been filed against
                          Facebook by the privacy rights advocacy group, Europe v. Facebook;
 7

 8                 14.    September 2011: Nik Cubrilovic discovers Facebook’s post log-out
                          tracking;
 9
                   15.    November 2011: FTC settles complaint over Facebook Privacy issues by
10                        requiring extensive oversight. Zuckerberg responded, “I’m the first to admit
11                        that we’ve made a bunch of mistakes;” and

12                 16.    February 2012: Facebook was caught with the ability to read any text
                          message sent over mobile phones and tablets which had downloaded its
13                        mobile app. Facebook responded that it uses this data for research and had
                          only taken the texting inboxes of a handful of users.
14

15 IV.       FACEBOOK INTENTIONALLY CIRCUMVENTED WEB BROWSING PRIVACY
             P3P CODE IN ORDER TO TRACK USERS
16

17           86.   The Platform for Privacy Preferences (P3P) is a standard format for computer-
18 readable privacy policies, which the World Wide Web Consortium (W3C) published in 2002. The

19 standard includes a P3P full policy format and a P3P “compact policy” (“CP”) format. The

20 compact policy format is designed to be a shorter version of a full P3P policy that encodes in a

21 computer-readable format only the parts of a privacy policy that relate to cookies. Use of a

22 compact policy is optional for websites that use P3P full policies. However, according to the P3P

23 working group, “if a web site makes compact policy statements it MUST make these statements in

24 good faith.”3

25           87.   The compact policy is designed to be transmitted in an HTTP header that also
26 contains an HTTP cookie. It takes the form: CP = “POLICY” where POLICY is a series of three-

27   3
    W3C. The Platform for Privacy Preferences 1.1. http://www.w3.org/TR/P3P11/, November
28 2006.
                                                  21            CORRECTED FIRST AMENDED
                                                              CONSOLIDATED CLASS ACTION
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 1 and four-letter tokens associated with P3P policy elements as defined in the P3P 1.0

 2 Specification.4 Valid compact policies must have at least five of these elements. For example,

 3 the following is a valid P3P compact policy:

 4             CP = “NOI NID ADMa OUR IND UNI COM NAV”

 5             88.      The P3P specification states “If an unrecognized token appears in a compact policy,

 6 the compact policy has the same semantics as if that token was not present.”5 This means that

 7 web browsers should ignore any tokens that appear in a P3P compact policy that are not defined in

 8 the P3P specification.

 9             89.      Microsoft introduced support for P3P in the Internet Explorer 6 web browser in

10 2002; and Microsoft included functionally identical implementations of P3P in its subsequent

11 Internet Explorer 7, 8, and 9 web browsers (hereinafter, Internet Explorer versions 6-9 are all

12 called “IE”). By default, without users taking any action to change configuration settings, IE is set

13 to the “Medium” privacy setting. Users can view and change their privacy settings using the IE

14 “Internet Options” panel. The panel describes the Medium setting as follows:

15             -     Blocks third-party cookies that do not have a compact privacy policy

16             -     Blocks third-party cookies that use personally identifiable information without your
17
                     implicit consent
18
               -     Restricts first-party cookies that use personally identifiable information without
19
                     implicit consent
20
               90.      Microsoft documentation states, “For most users, Internet Explorer 6 default
21
                                                                                                6
22 privacy settings provides enough privacy protection without disrupting the browsing process.”

23             91.      Behind the scenes, IE checks for a P3P compact policy header whenever a website
24 sends a cookie in an HTTP response. If IE finds a third-party cookie that is not accompanied by a

25   4
      W3C. The Platform for Privacy Preference 1.0 (P3P1.0) Specification, W3C Recommendation
     16 April 2002, http://www.w3.org/TR/P3P/.
26
     5
         P3P1.0 at Section 4.2.
27   6
    MSDN Library. How to Create a Customized Privacy Import File. 2002.
28 http://msdn.microsoft.com/en-us/library/ms537344.
                                                  22          CORRECTED FIRST AMENDED
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 1 compact policy, IE blocks that cookie. If IE finds a first-party cookie that is not accompanied by a

 2 compact policy, it “leashes” that cookie and prevents that cookie from being transmitted in a third-

 3 party context. If IE finds an accompanying compact policy, it evaluates that compact policy, and

 4 blocks the cookie if the compact policy is found to be “unsatisfactory.” If IE finds a first-party

 5 cookie that is accompanied by a compact policy, it evaluates that compact policy and turns the

 6 cookie into a session cookie if the compact policy is found to be unsatisfactory. IE considers a

 7 cookie to be unsatisfactory if the corresponding compact policy indicates that the cookie is used to

 8 collect personally identifiable information and does not allow users a choice in its use.7

 9             92.    By blocking cookies on the basis of their P3P compact policies, as described above,

10 the IE default privacy settings allow users “to enjoy the benefits of cookies, while protecting

11 themselves from unsatisfactory cookies.”8

12             93.    IE treats the representations made in compact policies as truthful statements. The
13 software makes no attempt to verify the accuracy of the information in a compact policy. If a

14 website with an unsatisfactory privacy policy were to make an untruthful statement and

15 misrepresent its policy as a satisfactory one, it could trick IE into allowing its third-party cookie to

16 be set when it would otherwise be blocked.

17             94.    Websites can also trick IE into allowing their third-party cookies to be set without
18 making untruthful statements. Because of the way Microsoft implemented the P3P compact

19 policy feature, websites can trick IE by simply leaving out any compact policy tokens that would

20 lead IE6 to classify the compact policy as unsatisfactory. In fact, an invalid compact policy that

21 contains only a made-up word is classified by IE as satisfactory.

22             95.    On September 10, 2010, researchers at Carnegie Mellon University published a

23 technical report titled “Token Attempt: The Misrepresentation of Website Privacy Policies through

24 the Misuse of P3P Compact Policy Tokens.”9 This report described a research study in which the

25
     7
      Privacy in Microsoft Internet Explorer 6. October 2001. http://msdn.microsoft.com/en-
26
     us/library/ms537343
27   8
         Privacy in Microsoft Internet Explorer 6.
     9
28       http://www.cylab.cmu.edu/research/techreports/2010/tr_cylab10014.html.
                                                       23             CORRECTED FIRST AMENDED
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 1 authors collected compact policies from 33,139 websites and used automated tools to check them

 2 for errors. The authors found errors in 11,176 compact policies on 4,696 domains, including 11 of

 3 the 50 most-visited websites.

 4             96.    The study reported that the most popular website to have a compact policy error

 5 was Facebook. The study reported that the Facebook compact policy at the time included only the

 6 tokens DSP and LAW, indicating that the Facebook privacy policy references a law that may

 7 determine remedies for breaches of their privacy policy and that there are ways to resolve privacy-

 8 related disputes. However, the Facebook compact policy was invalid because it did not include

 9 required tokens to disclose the categories of data associated with cookies, how they are used, who

10 will receive the collected data, the data retention policy, and the policy on providing data access.

11             97.    The report also stated, “When doing preliminary work for this study in 2009, the

12 facebook.com compact policy contained only the single invalid token HONK... [T]hese CPs are

13 useless for communicating with user agents and users. It is likely that facebook.com is using their

14 CP to avoid being blocked by IE.”

15             98.    On September 16, 2010, Ryan McGeehan, a Security Incident Response Manager

16 at Facebook emailed Dr. Lorrie Cranor, one of the authors of the report. He explained that he had

17 seen the report and was trying to determine how to accurately represent Facebook’s privacy policy

18 in a P3P compact policy and “still enable functionality such as the like button.”

19             99.    On September 17, 2010, the New York Times Bits blog reported on the Carnegie

20 Mellon study. The article included a comment from a Facebook spokesman:10

21             A Facebook spokesman said in an e-mailed statement: “We’re committed to providing
               clear and transparent policies, as well as comprehensive access to those policies. We’re
22             looking into the paper’s findings to see what, if any, changes we can make.” Ben Maurer, a
               software engineer at Facebook, said that the site used only two codes instead of five
23
               because current compact-policy codes do not “allow a rich enough description to
24             accurately represent our privacy policy.” Mr. Maurer said he did not know the history of
               how “HONK” made it into a compact policy.
25
               100.   Shortly thereafter, Facebook changed its compact policy to:
26
                      CP=“Facebook does not have a P3P policy. Learn why here: http://fb.me/p3p”
27
     10
28        http://bits.blogs.nytimes.com/2010/09/17/a-loophole-big-enough-for-a-cookie-to-fit-through/
                                                        24             CORRECTED FIRST AMENDED
                                                                     CONSOLIDATED CLASS ACTION
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 1         101.    Facebook’s new compact policy still tricks IE into allowing Facebook’s cookies.

 2 Although the body of Facebook’s compact policy is an English-language statement, readable to

 3 humans, that indicates that Facebook does not actually have a P3P policy; compact policies are

 4 designed to be read by computers, not humans. The IE web browser does not have the ability to

 5 glean meaning from this English-language statement. All IE does is scan the words within this

 6 statement to see whether any of them are on its list of unsatisfactory P3P tokens. Since none of

 7 these words are unsatisfactory P3P tokens, IE is tricked into classifying the policy as satisfactory

 8 and allows the Facebook cookie.

 9         102.    By tricking IE with an intentionally invalid compact policy, Facebook was able to

10 ensure that IE would improperly transmit a Facebook cookie back to Facebook when users visited

11 non-Facebook web sites that had Facebook like buttons or other embedded Facebook features.

12 V.      PLAINTIFFS’ SPECIFIC FACTUAL ALLEGATIONS
13         103.    Plaintiff Davis is a Facebook user and during the Class Period had an active
14 Facebook account. Plaintiff Davis, using the same computer on which Facebook installed tracking

15 and session cookies, visited websites with Facebook-integrated content after logging out of her

16 Facebook account. Contrary to its policies, Facebook intercepted Plaintiff Davis’ electronic

17 communications and tracked her internet use post-logout. Plaintiff did not consent to post-logout

18 tracking.

19         104.    Plaintiff Quinn is a Facebook user and during the Class Period had an active

20 Facebook account.       Plaintiff Quinn, using the same computer on which Facebook installed

21 tracking and session cookies, visited websites with Facebook integrated content after logging out

22 of her Facebook account.       Contrary to its policies, Facebook intercepted Plaintiff Quinn’s

23 electronic communications and tracked her internet use post-logout. Plaintiff did not consent to

24 post-logout tracking.

25         105.    Plaintiff Lentz is a Facebook user and during the Class Period had an active

26 Facebook account. Plaintiff Lentz, using the same computer on which Facebook installed tracking

27 and session cookies, visited websites with Facebook integrated content after logging out of his

28 Facebook account. Contrary to its policies, Facebook intercepted Plaintiff Lentz’s electronic
                                                 25            CORRECTED FIRST AMENDED
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 1 communications and tracked his internet use post-logout. Plaintiff did not consent to post-logout

 2 tracking.

 3          106.    Plaintiff Vickery is a Facebook user and during the Class Period had an active

 4 Facebook account. Plaintiff Vickery, using the same computer on which Facebook installed

 5 tracking and session cookies, visited websites with Facebook integrated content after logging out

 6 of his Facebook account.       Contrary to its policies, Facebook intercepted Plaintiff Vickery’s

 7 electronic communications and tracked his internet use post-logout. Plaintiff did not consent to

 8 post-logout tracking.

 9          107.    The Wiretap Act, as discussed in more detail below, provides statutory damages of

10 the greater of $100 per violation per day, up to $10,000, per Facebook user.

11          108.    Plaintiffs are thus each entitled to the greater of $100 of statutory damages per day

12 (corresponding to $15 billion for the Class), or $10,000 each for the ongoing violations during the

13 class period (corresponding to $1.5 trillion for the Class).

14

15          109.    Plaintiff Davis, through counsel, also retained a computer and computer law expert

16 to advise her and counsel on the nature of Facebook’s violations, the technologies and remedies.

17 The expert was paid a retainer of $7,500.

18          110.    The Computer Fraud and Abuse Act, as discussed in more detail below, statutorily

19 provides for reimbursement of out-of-pocket costs incurred as a result of Defendant’s violations of

20 the Act if such costs exceed $5,000. Plaintiff Davis is thus entitled to reimbursement of these

21 damages as are any other Class Members who incurred out-of-pocket costs as a result of

22 Defendant’s violations.

23 VI.      THEFT OF PERSONALLY IDENTIFIABLE INFORMATION
24          111.    Facebook admits that users must “provide their name, age, gender, and a valid

25 email address, and agree to Facebook’s terms of service.”

26          112.    Although Facebook members are not required to transmit cash to Facebook, the

27 personal information Facebook requires has massive economic value. More importantly, Facebook

28 conditioned membership upon the user accepting numerous Facebook cookies, which track
                                              26           CORRECTED FIRST AMENDED
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 1 browsing history, on the user’s computer. This browsing history has even greater economic value.

 2         113.   The value of the information that users are required to provide to Facebook is well

 3 understood in the e-commerce industry, and personal information is now viewed as a form of

 4 currency.

 5         114.   Professor Paul M. Schwartz noted in the Harvard Law Review:

 6                Personal information is an important currency in the new
                  millennium. The monetary value of personal data is large and still
 7
                  growing, and corporate America is moving quickly to profit from
 8                the trend. Companies view this information as a corporate asset and
                  have invested heavily in software that facilitates the collection of
 9                consumer information.
10 Paul M. Schwartz, Property, Privacy and Personal Data, 117 HARV. L. REV. 2055, 2056-57

11 (2004). Professor Schwartz wrote those words in the same year Facebook was launched.

12         115.   Likewise, in the Wall Street Journal, privacy expert and fellow at the Open Society
13 Institute Christopher Soghoian noted:

14                The dirty secret of the Web is that the “free” content and services
                  that consumers enjoy come with a hidden price: their own private
15                data. Many of the major online advertising companies are not
16                interested in the data that we knowingly and willingly share. Instead,
                  these parasitic firms covertly track our web-browsing activities,
17                search behavior and geolocation information. Once collected, this
                  mountain of data is analyzed to build digital dossiers on millions of
18                consumers, in some cases identifying us by name, gender, age as
                  well as the medical conditions and political issues we have
19
                  researched online.
20
                  Although we now regularly trade our most private information for
21                access to social-networking sites and free content, the terms of this
                  exchange were never clearly communicated to consumers.
22

23 Julia Angwin, How Much Should People Worry About the Loss of Online Privacy?, THE WALL

24 STREET JOURNAL (Nov. 15, 2011).

25         116.   The cash value of users’ personal information provided to Facebook as a condition
26 of membership can be quantified. For example, in a recent study authored by Tim Morey

27 (“What’s Your Personal Data Worth? http://designmind.frogdesign.com/blog/what039s-your-

28 personal-data-worth.html, Jan. 18, 2011), researchers studied the value that 180 internet users
                                                   27             CORRECTED FIRST AMENDED
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 1 placed on keeping personal data secure. The results were striking. Contact information of the sort

 2 that that Facebook requires was valued by the study participants at approximately $4.20 per year.

 3 Demographic information was valued at approximately $3.00 per year. Web browsing histories

 4 were valued at a much higher rate: $52.00 per year. The chart below summarizes the findings:

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17 Across Facebook’s approximately 800 million users, these figures imply aggregate annual

18 membership fees of $3.36 billion, $2.4 billion, and $41.6 billion, respectively, for each category of

19 information.

20          117.   Similarly, the value of personal data and internet browsing history can be
21 quantified, because at least two internet giants are willing to pay users for the exact type of data

22 that Facebook illegally intercepted from Plaintiffs and other members of the Class.

23          118.   For example, Google Inc. now has a panel called “Google Screenwise Trends”
24 which, according to the internet giant, is designed “to learn more about how everyday people use

25 the Intenet.”

26          119.   Upon becoming a panelist, internet users add a browser extension that will share
27 with Google the sites that users visit and how the panelist uses them. The panelist consents to

28 Google tracking this information for three months in exchange for one of a number of “gifts,”
                                                  28            CORRECTED FIRST AMENDED
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 1 including gift cards to retailers such as Barnes & Noble, Walmart and Overstock.com.

 2          120.   After three months, Google also agrees to pay panelists additional unspecified gifts

 3 “for staying with” the panel.

 4          121.   These gift cards, mostly valued at exactly $5, demonstrate conclusively that

 5 internet industry participants now generally understand the enormous value in internet users’

 6 browsing habits. Indeed, Facebook’s advertising revenues for 2011 roughly approximate $5 per

 7 user over its international user base of 800 million members, demonstrating that the industry is

 8 starting to settle on a rough consensus as to the value of the information harvested by Facebook.

 9          122.   Moreover, active markets exist all over the world for this type of data.          For

10 instance, a company in the United Kingdom, Allow Ltd., has created a business model based on

11 the value of personally identifiable information. When a customer signs up for Allow ltd., the

12 company sends a letter on behalf of their new client to the top companies in the United Kingdom

13 that harvest personal data demanding that those companies immediately stop using the client’s

14 personally identifiable data.

15          123.   Because that data is not readily available, it becomes highly coveted by advertisers,

16 and thus, applying basic economic principles, its value as a commodity increases in the market. In

17 contrast, the more accessible the user’s data, the less valuable it becomes on the open market.

18          124.   United States data markets work the same way. The more a person’s personally

19 identifiable data is used, the less money someone will pay for it. Consequently, an individual’s

20 personally identifiable data diminishes in value each time that data is intercepted and then sold to

21 advertisers, data aggregators and other third parties without the individual’s consent.

22          125.   In the instant case, Facebook intentionally intercepted Plaintiffs’ personally

23 identifiable data without consent. Thus, in addition to the concrete and quantifiable damages

24 described above, Plaintiffs have also suffered damages as a result of the decreased value of their

25 data in the marketplace.

26 VII.     ADDITIONAL CONSEQUENTIAL DAMAGES
27          126.   Plaintiff Davis signed up for a service called “Privacy Watch” from Abine, an

28 online privacy company.
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 1          127.    Privacy Watch is an email alert service specifically targeted at Facebook.

 2 Subcribers receive alerts when Facebook changes its Data Use Policy or makes changes to privacy

 3 controls and provides expert assistance for Facebook users looking to protect their privacy.

 4          128.    The Privacy Watch service costs $1.99 per month, or approximately $24 per year.

 5          129.    Plaintiff Davis subscribed to the service and incurred this expense as a direct result

 6 of Facebook’s failure during the Class Period to abide by its privacy policies.

 7 VIII. FACEBOOK TRACKED ITS MEMBERS’ POST-LOGOUT INTERNET USE
         INTENTIONALLY
 8

 9          130.    As set forth in detail herein, Facebook’s intentional interception of members’

10 electronic communications, including their internet browsing activity, coupled with their

11 personally identifiable data, without consent, even after logging out of Facebook, is evidenced by

12 the following:

13                  (1)    Facebook’s Patent Application, which demonstrates that Facebook

14                         employed technology specifically designed to track users while logged out;
15                  (2)    Facebook’s contradictory responses to regulators, including claims that the
16
                           persistence of certain cookies post-log-out was both a “bug” and that
17
                           Facebook “needs” personally identifiable information after log-out in order
18
                           to guarantee security;
19

20                  (3)    The report issued by German authorities, explaining that Facebook’s

21                         alleged reasons for “needing” personal information after log-out were

22                         “untenable”;
23                  (4)    Facebook’s pervasive violations of individual privacy;
24
                    (5)    The use of different cookies to track users prior to and post log-out, in
25
                           addition to cookies that track non-Facebook members;
26
                    (6)    Facebook’s knowledge of the tracking issue at least a year prior to its
27

28                         admission that it needed to correct this “bug” based on the findings of Nic
                                                      30              CORRECTED FIRST AMENDED
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 1                         Cubrilovic, who repeatedly contacted the Company, but received no

 2                         response until he posted the information on his blog; and
 3
                    (7)    Facebook’s use of the P3P tracking cookie.
 4

 5                                  CLASS ACTION ALLEGATIONS

 6          131.    This is a class action pursuant to Rules 23(a) and (b)(3) of the Federal Rules of

 7 Civil Procedure on behalf of a Class of all persons who had active Facebook accounts and used

 8 Facebook between May 27, 2010 and September 26, 2011, both dates inclusive, and whose

 9 privacy Facebook violated. Excluded from the Class are Facebook, and its officers, directors,

10 employees, affiliates, legal representatives, predecessors, successors and assigns, and any entity in

11 which any of them have a controlling interest.

12          132.    The members of the Class are so numerous that joinder of all members is

13 impracticable.

14          133.    Common questions of law and fact exist as to all members of the Class and

15 predominate over any questions affecting solely individual members of the Class. The questions

16 of law and fact common to the Class include whether Facebook violated state and federal laws by

17 tracking Internet use and intercepting the communication of its users after the users had logged off

18 of Facebook.

19          134.    Plaintiffs’ claims are typical of the claims of other Class members, as all members

20 of the Class were similarly affected by Facebook’s wrongful conduct in violation of federal law as

21 complained of herein.

22          135.    Plaintiffs will fairly and adequately protect the interests of the members of the

23 Class and have retained counsel that is competent and experienced in class action litigation.

24 Plaintiffs have no interest that is in conflict with, or otherwise antagonistic to the interests of the

25 other Class members.

26          136.    A class action is superior to all other available methods for the fair and efficient

27 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

28 damages individual Class members have suffered may be relatively small, the expense and burden
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 1 of individual litigation make it impossible for members of the Class to individually redress the

 2 wrongs done to them. There will be no difficulty in management of this action as a class action.

 3                                               COUNT I
 4           VIOLATION OF THE FEDERAL WIRETAP ACT, 18 U.S.C. § 2510, et. seq.
 5           137.   Plaintiffs incorporate the above allegations by reference as if set forth more fully
 6 herein.

 7           138.   The Federal Wiretap Act, as amended by the Electronic Communications Privacy

 8 Act of 1986, prohibits the intentional interception of any wire, oral, or electronic communication.

 9           139.   18 U.S.C. § 2520(a) provides a private right of action to any person whose wire,

10 oral or electronic communication is intercepted.

11           140.   Facebook intercepted the contents of Plaintiffs’ and Class Members’ electronic
12 communications even after such users had logged out of Facebook, contrary to its governing

13 policies and without the consent of its users.

14           141.   Neither the Plaintiffs nor members of the Class were aware that Facebook was
15 violating its own privacy policy, intercepting its users’ electronic communications and tracking

16 their detailed web browsing habits after users logged out of Facebook.

17           142.   By duplicating its users’ communications with websites that use Facebook content
18 (the users’ URL requests for information) and associating it with cookies and other data, Facebook

19 used technology to acquire the contents of those electronic communications within the meaning of

20 the Wiretap Act.

21           143.   Facebook intentionally made copies of such detailed website requests and

22 personally identifiable information using a device on users’ computers, its web servers and

23 technology, and thus intentionally intercepted the electronic communications of its users.

24           144.   Plaintiffs and Class Members are persons whose electronic communications were

25 intercepted within the meaning of Section 2520.

26           145.   Section 2520 provides for preliminary, equitable and declaratory relief, in addition

27 to statutory damages of the greater of $10,000 or $100 a day for each day of violation or actual

28 damages, punitive damages in appropriate cases, reasonable attorneys’ fees, and other litigation
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 1 costs reasonably incurred.

 2                                              COUNT II
 3                            VIOLATION OF THE STORED
                         COMMUNICATIONS ACT, 18 U.S.C. § 2701, et. seq.
 4

 5           146.   Plaintiffs incorporate the above allegations by reference as if set forth more fully

 6 herein.

 7           147.   The Stored Communications Act (“SCA”) provides a cause of action against a

 8 person who intentionally accesses without authorization a facility through which an electronic

 9 communication service is provided, or who intentionally exceeds an authorization to access that

10 facility, and thereby obtains, alters or prevents authorized access to a wire or electronic

11 communication while it is in electronic storage in such a system.

12           148.   The statute defines “Electronic Storage” as “any temporary, intermediate storage of

13 a wire or electronic communication incidental to the electronic transmission thereof; and any

14 storage of such communication by an electronic communication service for purposes of backup

15 protection of such communication.”

16           149.   Facebook’s access of persistent cookies on Plaintiffs’ and Class Members’

17 computers without their consent and in violation it privacy policies after logout from Facebook

18 exceeded authorized access to those computers, which are facilities through which an electronic

19 communication service is provided. By using technology that caused cookie data to be sent to

20 Facebook without Plaintiffs’ or Class Members’ consent or knowledge, Facebook obtained

21 electronic communication data in electronic storage in violation of the SCA.

22           150.   Plaintiffs and other member of the Class were harmed by Defendant’s violations,

23 and pursuant to 18 U.S.C. § 2707(c), are entitled to actual damages including profits earned by

24 Defendant attributable to the violations or statutory minimum damages of $1,000 per person,

25 punitive damages, costs and reasonable attorneys’ fees.

26 / / /

27 / / /

28 / / /
                                                      33          CORRECTED FIRST AMENDED
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 1                                               COUNT III
 2                  VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT,
                                      18 U.S.C. § 1030
 3

 4           151.   Plaintiffs incorporate the above allegations by reference as if set forth more fully

 5 herein.

 6           152.   Plaintiffs’ and Class Members’ computers were used in interstate commerce or

 7 communication.

 8           153.   Defendant intentionally accessed Plaintiffs’ and Class Members computers without

 9 authorization or by exceeding authorized access to such computers, and by obtaining information

10 from such a protected computers.

11           154.   Defendant knowingly caused the transmission of a program, information, code or

12 command to said computers and as a result caused a loss to Plaintiffs and Class Members during

13 any one-year period of at least $5,000 in the aggregate.

14           155.   Plaintiffs and Class Members have also suffered a violation of the right of privacy

15 as a result of Defendant’s knowing actions.

16           156.   Defendant has thus violated the Computer Fraud and Abuse Act, 18 U.S.C. § 1030.

17           157.   Defendant’s unlawful access to Plaintiffs’ and Class Members’ computers and

18 communications have caused irreparable injury. Unless restrained and enjoined, Defendant will

19 continue to commit such acts. Plaintiffs’ and Class Members’ remedies at law are not adequate to

20 compensate for these inflicted and threatened injuries, entitling Plaintiffs and the Class to remedies

21 including injunctive relief as provided by 18 U.S.C. § 1030(g).

22                                               COUNT IV

23                                      INVASION OF PRIVACY

24           158.   Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.
25           159.   Plaintiffs had an interest in: (1) precluding the dissemination and/or misuse of their
26 sensitive, confidential personally identifiable information; and (2) making personal decisions

27 and/or conducting personal activities without observation, intrusion or interference, including, but

28 not limited to, the right to visit and interact with various internet sites without having that
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 1 information intercepted and transmitted to Defendant without their knowledge or consent.

 2          160.   Based on, among other things, Facebook’s Terms of Use and Privacy Policy,

 3 Plaintiffs had a reasonable expectation that their personally identifiable information and other data

 4
     would remain confidential and that Defendant would not install cookies on their browsers that
 5
     would enable Facebook to track their activities on the internet after logging out of their Facebook
 6
     accounts.
 7
            161.   This invasion of privacy is sufficiently serious in nature, scope and impact.
 8

 9          162.   This invasion of privacy constitutes an egregious breach of the social norms

10 underlying the privacy right.

11                                               COUNT V

12                                  INTRUSION UPON SECLUSION

13          163.   Plaintiffs incorporate all preceding paragraphs as though fully set forth herein.

14          164.   By intercepting Plaintiffs’ wire and electronic communications on the internet,

15 Defendants intentionally intruded upon their solitude or seclusion.

16          165.   Plaintiffs did not consent to Defendants’ intrusion.

17          166.   Defendants’ intentional intrusion on Plaintiffs’ solitude or seclusion without

18 consent would be highly offensive to a reasonable person.

19                                              COUNT VI

20                                            CONVERSION

21          167.   Plaintiffs incorporate all preceding paragraphs as though set forth herein.

22          168.   Plaintiffs and the Class Members own and/or have a right to possess their

23 personally identifiable information and other data, including, but not limited to, their names,

24 account information, browsing histories, and purchasing habits.           Such property, owned by

25 Plaintiffs and the Class Members, is valuable to Plaintiffs and the Class Members.

26          169.   Defendant unlawfully exercised dominion over said property and thereby converted

27 Plaintiffs’ and the Class Members’ property, by, inter alia, installing cookies on Plaintiffs’ and the

28 Class Members’ computers, which continued to intercept their communications after they were
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 1 logged out of their Facebook accounts.

 2          170.   Plaintiffs and the Class Members have suffered damages as a result of Defendant’s

 3 actions, including, but not limited to, the loss in value of their personally identifiable information

 4 in the marketplace.

 5                                              COUNT VII
 6                                     TRESPASS TO CHATTELS
 7          171.   Plaintiffs incorporate all preceding paragraphs as though set forth herein.
 8          172.   Defendant, intentionally and without consent or other legal justification, tracked
 9 Plaintiffs’ activity while Plaintiffs were logged-off of the website Facebook.com, and, in the

10 process, connected Plaintiffs’ personally identifiable information to their specific actions on the

11 Internet.

12          173.   Defendant, intentionally and without consent or other legal justification, placed
13 cookies on Plaintiffs’ computers which tracked their activity while logged-off of Facebook.

14          174.     Defendant’s intentional and unjustified placing of a cookie designed to track
15 Plaintiffs’ internet activities while logged-off of Facebook and actual tracking of Plaintiffs

16 activities interfered with Plaintiffs’ use of the following personal property owned by Plaintiffs: (a)

17 Plaintiffs’ computers; and (b) Plaintiffs’ personally identifiable information.

18                                             COUNT VIII
19             VIOLATION OF CALIFORNIA BUSINESS AND PROFESSIONAL CODE
                  § 17200, ET SEQ., THE UNFAIR COMPETITION LAW (“UCL”)
20

21          175.   Plaintiffs incorporate all preceding paragraphs a though set forth herein.
22          176.   In violation of California Business and Professional Code § 17200, et seq.,
23 Defendant’s conduct in this regard is ongoing and includes, but is not limited to, statements made

24 by Defendant in its information privacy and confidentiality practices.

25          177.   By engaging in the acts and practices described herein, Defendant has committed
26 one or more acts of unfair competition within the meaning of the UCL, and as a result, Plaintiffs

27 and the Class Members have suffered injury-in-fact and have lost money and/or property, namely,

28 as described herein, the insertion of cookies on their computers and the invasion and lost value of
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 1 their personally identifiable information and other data.

 2          178.   In reasonable reliance on Defendant’s misrepresentations and omissions, Plaintiffs

 3 interacted with various websites while logged out of their Facebook accounts believing that this

 4 information was secure and confidential. In actuality, without Plaintiffs’ knowledge or consent,

 5 Defendant caused certain cookies to be placed on Plaintiffs’ computers, which actively intercepted

 6 and collected Plaintiffs’ personally identifiable information so that it could be utilized for

 7 advertising and other purposes for Defendant’s benefit.

 8          179.   Defendant’s business acts and practices are unlawful, in part, because they violate

 9 California Business and Professions Code§ 17500, et seq., which prohibits false advertising, in

10 that they were untrue and misleading statements relating to Defendant’s performance of services,

11 made with the intent to induce consumers to enter into obligations relating to such services, and

12 regarding which statements Defendant knew, or which by the exercise of reasonable care

13 Defendant should have known, to be untrue and misleading. Defendant’s business acts and

14 practices are also unlawful in that they violate the California Consumers Legal Remedies Act,

15 California Civil Code § 1750, et seq., California Penal Code § 502, California Penal Code §630,

16 18 U.S.C. § 2511, et seq., and 18 U.S.C. § 1030. Defendant is therefore in violation of the

17 “unlawful” prong of the UCL.

18          180.   Defendant’s business acts and practices are unfair, because they cause harm and

19 injury in fact to Plaintiffs and Class Members, and for which Defendant has no justification other

20 than to increase, beyond what Defendant would have otherwise realized, its profit in fees from

21 advertisers, software developers and other third parties and the value of its information assets

22 through the acquisition of consumers’ personal information.           Defendant’s conduct lacks

23 reasonable and legitimate justification in that Defendant has benefited from such conduct and

24 practices while Plaintiffs and the Class Members have been misled as to the nature and integrity of

25 Defendant’s services and have, in fact, suffered material disadvantage regarding their interests in

26 the privacy and confidentiality of their personal information. Defendant’s conduct offends public

27 policy in California as embodied in the Consumers Legal Remedies Act, the state constitutional

28 right of privacy, and California statutes recognizing the need for consumers to obtain material
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 1 information that enables them safeguard their own privacy interests, including Cal. Civ. Code §

 2 1798.80.

 3          181.    Moreover, Defendant knew, or should have known, that consumers care about the

 4 status of personal information and internet privacy, but are unlikely to be aware of the manner in

 5 which Defendant was engaged in practices that expressly violated its stated Privacy Policy and the

 6 Terms of Use. Defendant therefore is in violation of the “unfair” prong of the UCL.

 7          182.    Defendant’s acts and practices were fraudulent within the meaning of the UCL,

 8 because they were likely to, and did, in fact, mislead the members of the public to whom they

 9 were directed.

10          183.    Plaintiffs, on behalf of themselves and each Class Member, seek restitution,

11 injunctive relief, and other relief as provided under the UCL.

12                                               COUNT IX
13                     VIOLATIONS OF CALIFORNIA PENAL CODE § 502
                      THE CALIFORNIA COMPUTER CRIME LAW (“CCCL”)
14

15          184.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
16          185.    Defendant violated Cal. Penal Code § 502(c)(2) by knowingly and without
17 permission accessing, taking and using Plaintiffs’ and the Class Members’ personally identifiable

18 information.

19          186.    Defendant accessed, copied, used, made use of, interfered with, and/or altered data
20 belonging to Plaintiffs and Class Members: (1) in and from the State of California; (2) in the states

21 in which the Plaintiffs and the Class Members are domiciled; and (3) in the states in which the

22 servers that provided services and communication links between Plaintiffs and the Class Members

23 and Facebook.com and other websites with which they interacted were located.

24          187.    Cal. Penal Code § 502 provides: “For purposes of bringing a civil or a criminal
25 action under this section, a person who causes, by any means, the access of a computer, computer

26 system, or computer network in one jurisdiction from another jurisdiction is deemed to have

27 personally accessed the computer, computer system, or computer network in each jurisdiction.”

28 / / /
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 1          188.    Defendants have violated California Penal Code § 502(c)(1) by knowingly and

 2 without permission altering, accessing, and making use of Plaintiffs and Class Members’

 3 personally identifiable data in order to execute a scheme to defraud consumers by utilizing and

 4 profiting from the sale of their personally identifiable data, thereby depriving them of the value of

 5 their personally identifiable data.

 6          189.    Defendants have violated California Penal Code § 502(c)(6) by knowingly and

 7 without permission providing, or assisting in providing, a means of accessing Plaintiffs’ and Class

 8 Members’ computer systems and/or computer networks.

 9          190.    Defendants have violated California Penal Code § 502(c)(7) by knowingly and

10 without permission accessing, or causing to be accessed, Plaintiffs’ and Class Members’ computer

11 systems and/or computer networks.

12          191.    Pursuant to California Penal Code § 502(b)(10) a “Computer contaminant” is

13 defined as “any set of computer instructions that are designed to ... record, or transmit information

14 within computer, computer system, or computer network without the intent or permission of the

15 owner of the information.”

16          192.     Defendants have violated California Penal Code § 502(6)(8) by knowingly and

17 without permission introducing a computer contaminant into the transactions between Plaintiffs

18 and the Class Members and websites; specifically, a “cookie” that intercepts and gathers

19 information concerning Plaintiffs’ and the Class Members’ interactions with certain websites,

20 which information is then transmitted back to Facebook.

21          193.    As a direct and proximate result of Defendant’s unlawful conduct within the

22 meaning of California Penal Code § 502, Defendant has caused loss to Plaintiffs and the Class

23 Members in an amount to be proven at trial. Plaintiffs and the Class Members are also entitled to

24 recover their reasonable attorneys’ fees pursuant to California Penal Code § 502(e).

25          194.    Plaintiffs and the Class Members seek compensatory damages, in an amount to be

26 proven at trial, and injunctive or other equitable relief.

27          195.    Plaintiff and Class Members have suffered irreparable and incalculable harm and

28 injuries from Defendant’s violations. The harm will continue unless Defendant is enjoined from
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 1 further violations of this section. Plaintiffs and Class Members have no adequate remedy at law.

 2          196.    Plaintiffs and the Class Members are entitled to punitive or exemplary damages

 3 pursuant to Cal. Penal Code § 502(e)(4) because Defendant’s violations were willful and, upon

 4 information and belief, Defendant is guilty of oppression, fraud, or malice as defined in Cal. Civil

 5 Code § 3294.

 6          197.    Plaintiffs and the Class Members have also suffered irreparable injury from these

 7 unauthorized acts of disclosure, to wit: all of their personal, private, and sensitive web

 8 communications have been harvested, viewed, accessed, stored, and used by Defendant, and have

 9 not been destroyed, and due to the continuing threat of such injury, have no adequate remedy at

10 law, entitling Plaintiffs to injunctive relief.

11                                                   COUNT X
12                       VIOLATIONS OF CALIFORNIA PENAL CODE § 630
                               THE INVASION OF PRIVACY ACT
13
            198.    Plaintiffs incorporate all preceding paragraphs as though set forth herein.
14
            199.    California Penal Code § 631(a) provides, in pertinent part:
15

16
                    Any person who … willfully and without the consent of all parties
17                  to the communication, or in any unauthorized manner, reads, or
                    attempts to read, or to learn the contents or meaning of any message,
18                  report, or communication while the same is in transit or passing over
                    any wire, line, or cable, or is being sent from, or received at any
19                  place within this state; or who uses, or attempts to use, in any
                    manner, or for any purpose, or to communicate in any way, any
20                  information so obtained, or who aids, agrees with, employs, or
                    conspires with any person or persons to lawfully do, or permit, or
21                  cause to be done any of the acts or things mentioned above in this
                    section, is punishable by a fine not exceeding two thousand five
22                  hundred dollars…

23          200.    At all relevant times, Defendant’s business practice of depositing a cookie that
24 continued to access, intercept and collect Plaintiffs’ and Class Members’ personally identifiable

25 information and other data, including information concerning their interactions with certain

26 websites, after log-out from Facebook.com was without authorization and consent, including, but

27 not limited to, obtaining any and all communications.

28 / / /
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 1          201.    Upon information and belief, Plaintiffs, and each Class Member, during one or

 2 more of their interactions on the internet during the Class Period, communicated with one or more

 3 entities based in California, or with one or more entities whose servers were located in California.

 4          202.    Communications from the California web-based entities to Plaintiffs and Class

 5 Members were sent from California. Communications to the California web-based entities from

 6 Plaintiffs and Class Members were sent to California.

 7          203.    Plaintiffs and Class Members did not consent to any of Defendant’s actions in

 8 intercepting, reading, and/or learning the contents of their communications with such

 9 California-based entities.

10          204.    Plaintiff and Class Members did not consent to any of the Defendant’s actions in

11 using the contents of their communications with such California-based entities.

12          205.    Defendant is not a “public utility engaged in the business of providing

13 communications services and facilities...”

14          206.    The actions alleged herein by Defendant was not undertaken “for the purpose of

15 construction, maintenance, conduct or operation of the services and facilities of the public utility.”

16          207.    The actions alleged herein by Defendant was not undertaken with respect to any

17 telephonic communication system used for communication exclusively within a state, county, city

18 and county, or city correctional facility.

19          208.    Defendant directly participated in the interception, reading, and/or learning of the

20 contents of the communications between Plaintiffs, Class Members and California-based web

21 entities.

22          209.    Plaintiffs and Class Members have additionally suffered loss by reason of these

23 violations, including, without limitation, violation of the right of privacy and deprivation of the

24 loss of value in their personally identifiable information.

25          210.    Unless restrained and enjoined, Defendants will continue to commit such acts.

26          211.    Pursuant to Section 637.2 of the California Penal Code, Plaintiff and the Class have

27 been injured by the violations of California Penal Code § 631. Wherefore, Plaintiffs, on behalf of

28 themselves and on behalf of a similarly situated Class of consumers, seeks damages and injunctive
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 1 relief.

 2                                               COUNT XI
 3                      VIOLATIONS OF CALIFORNIA CIVIL CODE § 1750
                           THE CONSUMER LEGAL REMEDIES ACT
 4

 5           212.   Plaintiffs incorporate all preceding paragraphs as though set forth herein.
 6           213.   In violation of California Civil Code § 1750, et seq. (the “CLRA”), Defendant has
 7 engaged and is engaged in unfair and deceptive acts and practices in the course of its interactions

 8 with Plaintiffs and Class Members.

 9           214.   At all relevant times, Plaintiffs and each proposed Class Member was a
10 “consumer,” as that term is defined in Civ. Code § 1761(d).

11           215.   At all relevant times, Defendant’s online services constituted “services,” as that
12 term is defined in Civ. Code § 1761(b).

13           216.   At all relevant times, Defendant was a “person,” as that term is defined in Civ.
14 Code § 1761(c).

15           217.   At all relevant times, Plaintiffs’ and each proposed Class Member’s use of
16 Defendant’s website and the implementation of cookies constituted a “transaction,” as that term is

17 defined in Civ. Code § 1761(e).

18           218.   Defendant’s practices, acts, policies, and course of conduct violated the CLRA in
19 that Defendant represented that its website and online services have characteristics, uses and

20 benefits which they do not have, in violation of § 1770(a)(5) of the CLRA.

21           219.   Defendant’s practices, acts, policies, and course of conduct violated the CLRA in
22 that Defendant represented that a transaction confers or involves rights, remedies, or obligations

23 which it does not have, in violation of § 1770(a)(14) of the CLRA.

24           220.   As previously described in detail, Defendant represented that it would supply its
25 service to Plaintiffs and Class Members in accordance with the governing documents and then did

26 not, in violation of § 1770(a)(16).

27           221.   Plaintiffs and the Class relied on Defendant’s representations that it would supply
28 its service in accordance with the governing documents.
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 1          222.   Plaintiffs and the Class suffered the aforementioned damages as a result of the

 2 Defendant’s conduct.

 3          223.   Plaintiffs seek only injunctive relief for the CLRA claims alleged in this Complaint.

 4                                       PRAYER FOR RELIEF
 5          WHEREFORE, Plaintiffs respectfully request that this Court:

 6          A.     Certify this action is a class action pursuant to Rule 23 of the Federal Rules of Civil

 7 Procedure;

 8          B.     Award compensatory damages, including statutory damages where available, to

 9 Plaintiffs and the Class against Defendant for all damages sustained as a result of Defendant’s

10 wrongdoing, in an amount to be proven at trial, including interest thereon;

11          C.     Permanently restrain Defendant, and its officers, agents, servants, employees and

12 attorneys, from installing cookies on its users’ computers that could track the users’ computer

13 usage after logging out of Facebook or otherwise violating its policies with users;

14          D.     Award Plaintiffs and the Class their reasonable costs and expenses incurred in this

15 action, including counsel fees and expert fees; and

16          E.     Grant Plaintiffs such further relief as the Court deems appropriate.

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 1                                       JURY TRIAL DEMAND
 2         The Plaintiffs demand a trial by jury of all issues so triable.

 3 DATED this 23rd day of May, 2012.                    Respectfully submitted,
 4
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 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on May 23, 2012, I caused the foregoing to be electronically filed
 3
     with the Clerk of the Court using the CM/ECF system which will send notification of such filing
 4
     to the e-mail addresses denoted on the Electronic Mail Notice List.
 5
            I certify under penalty of perjury under the laws of the United States of America that the
 6
     foregoing is true and correct. Executed on May 23, 2012.
 7

 8                                                Respectfully Submitted,

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